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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                      CIVIL MINUTES – GENERAL

   Case No. SA CV 22-00099-DOC-DFM                                                      Date: April 19, 2022

   Title: JOHN C. EASTMAN V. BENNIE G. THOMPSON ET AL.


   PRESENT:

                THE HONORABLE DAVID O. CARTER, U.S. DISTRICT JUDGE

          Dajanae Carrigan/Karlen Dubon                                                  Not Present
                 Courtroom Clerk                                                        Court Reporter

          ATTORNEYS PRESENT FOR                                    ATTORNEYS PRESENT FOR
                PLAINTIFF:                                              DEFENDANT:
               None Present                                              None Present


           PROCEEDINGS (IN CHAMBERS): ORDER RE: REMAINING
                                      PRIVILEGE CLAIMS

          On April 18, 2022, Dr. John Eastman filed a Status Report (Dkt. 325) alerting the
   Court that he has completed his privilege review. Dr. Eastman claims privilege and the
   Select Committee objects to 3,247 documents, totaling approximately 36,106 pages.1
   Status Report at 3. Dr. Eastman has already submitted these documents to the Court for in
   camera review.

           Accordingly, the Court ORDERS as follows:

       1. Dr. Eastman and the Select Committee shall compile and submit a consolidated
          privilege log with only the remaining challenged documents and objections by
          April 25, 2022 at 12 pm Pacific Time.

       2. Dr. Eastman shall review and revise for consistency any privilege claims made
          prior to the Court’s March 28, 2022 Order (Dkt. 260). For example, Dr. Eastman
          should remove any duplicate documents; non-substantive documents, like logos or
   1
    The Court notes that these numbers are subject to change based on the Select Committee’s final two days of
   objections. The Select Committee and Dr. Eastman shall update the Court with the final numbers of challenged
   documents and pages as soon as they are available.
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                              UNITED STATES DISTRICT COURT
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         email signatures; and publicly available documents, such as articles and tweets. If
         Dr. Eastman still asserts claims over such documents, he should address in the
         consolidated privilege log why those documents are not disclosable under the
         Court’s prior Order.

      3. Dr. Eastman and the Select Committee shall file a joint report by April 25, 2022 at
         12 pm Pacific Time detailing their proposed procedure (such as briefing schedule
         and page limits) for the Court to decide the remaining privilege claims.



         The Clerk shall serve this minute order on the parties.

   MINUTES FORM 11                                                 Initials of Deputy Clerk: dca/kdu

   CIVIL-GEN
